  Case 1:22-cv-01621-MN Document 30 Filed 04/10/23 Page 1 of 2 PageID #: 515




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 JPMORGAN CHASE BANK, N.A.,                          )
                                                     )
                         Plaintiff,                  )
                                                     )
         v.                                          )
                                                     )
 CHARLIE JAVICE, OLIVIER AMAR,                       )
 CHARLIE JAVICE, in her capacity as Trustee          )
 of CHARLIE JAVICE 2021 IRREVOCABLE                  )         C.A. No. 22-01621-MN
 TRUST #1, CHARLIE JAVICE, in her                    )
 capacity as Trustee of CHARLIE JAVICE               )         PUBLIC VERSION
 2021 IRREVOCABLE TRUST #2, and                      )
 CHARLIE JAVICE in her capacity as Trustee           )
 of CHARLIE JAVICE 2021 IRREVOCABLE                  )
 TRUST #3,                                           )
                                                     )
                           Defendants.               )


       PLAINTIFF’S MOTION TO PARTIALLY LIFT THE PRIVATE SECURITIES
                  LITIGATION REFORM ACT DISCOVERY STAY


        JPMorgan Chase Bank, N.A. (“Plaintiff”) hereby moves to lift the general discovery stay

under the Private Securities Litigation Reform Act of 1995 to conduct limited, particularized

discovery targeting Defendant Charlie Javice’s transfer of proceeds from the merger at issue in

this litigation and failure to preserve evidence. The bases for this Motion are set forth in Plaintiff’s

Opening Brief and upon the papers, records, and pleadings on file with the Court.

        Pursuant to LR 7.1.1, counsel for the parties conferred by telephone, but were unable to

reach agreement on this motion.
Case 1:22-cv-01621-MN Document 30 Filed 04/10/23 Page 2 of 2 PageID #: 516




                                       POTTER ANDERSON & CORROON LLP

OF COUNSEL:
                                       By: /s/ Jonathan A. Choa
William M. Regan                           Peter J. Walsh, Jr. (#2437)
Allison M. Wuertz                          Michael A. Pittenger (#3212)
HOGAN LOVELLS US LLP                       Jonathan A. Choa (#5319)
390 Madison Avenue                         Carla M. Jones (#6046)
New York, NY 10017                         Hercules Plaza
(212) 918-3000                             P.O. Box 951
                                           Wilmington, DE 19899
                                           (302) 984-6000
                                           mpittenger@potteranderson.com
                                           pwalsh@potteranderson.com
                                           jchoa@potteranderson.com
Dated: April 7, 2023                       cjones@potteranderson.com
Public version dated: April 10, 2023
10734091                               Attorneys for JPMorgan Chase Bank, N.A.




                                       2
